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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                      WACO DIVISON

    LATINOS FOR TRUMP, BLACKS                           §
    FOR TRUMP, JOSHUA MACIAS,                           §
    M.S., B. G., J.B., J.J.,                            §
                                                        §
          Plaintiffs.                                   §
                                                        §
                                                        §
    v.                                                  §        CIVIL ACTION NO. 6:21-CV-43
                                                        §
    PETE SESSIONS, MITCH                                §
    McCONNELL, NANCY PELOSI,                            §
    MARK ZUCKERBERG, CHUCK                              §
    SCHUMER, ALEXANDRIA                                 §
    OCASIO-CORTEZ, BRAD                                 §
    RAFFENSPERGER, ALL                                  §
    MEMBERS OF THE 117TH U.S.                           §        JURY TRIAL REQUESTED
    CONGRESS, et al.,

          Defendants.

                             TEMPORARY RESTRAINING ORDER

After considering Plaintiff’s Motion for Temporary Restraining Order against

Defendants, ex parte, due to the risk of immediate and irreparable harm, to be caused

to Plaintiffs by the members of the illegitimate 117th “Congress” and the 46th

“President,” Joseph P. Biden,1 whom said illegitimate Congress did unlawfully

confirm to the office, who unlawfully hold the mantles of office, to temporarily

restrain the effects of their illegal acts (including the barrage of executive orders,

which severely threaten economic stability) and to restore the status quo ante, on the



1
 A third party beneficiary of the Defendants’ illegal acts, and and who also participated in the 107th Congress in
the legislative process leading up to and including his vote of “yes” to pass the Help America Vote Act of 2002,
showing direct and specific knowledge of the law.


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pleadings, declarations, expert reports, and other documentary evidence in support

thereof, the Court FINDS as follows:



After considering Plaintiff’s Motion for Temporary Restraining Order against

Defendants, who illegitimately and unlawfully hold the mantles of office in both the

legislative and executive branches of government, and due to the excessive nature of

the executive orders activity of the unlawfully confirmed “President” Joseph P.

Biden2, and due to the economic stability of the nation, to temporarily restrain the

effects of their illegal acts and restore the status quo ante, on the pleadings,

declarations, expert reports, and other documentary evidence in support thereof, the

Court FINDS as follows:

      1.     Plaintiffs will likely suffer the following immediate and irreparable

injury, loss, or damage in the following manner: (1) loss of the ability to a government

by consent of the governed by virtue of being deprived of the fundamental right to

legally vote in federal elections; (2) imminent transformation of the United States

into an oppressive police state that persecutes those with political views differing

from those in control of government, and (3) severe financial harm without the ability

to collect damages because of the risk that the United States will cease to be safe

haven for the capital assets of investors and that the economy is likely to experience

severe instability if controlled by an illegitimate government.




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       2.     This injury is irreparable because it would be impossible to calculate an

appropriate amount of monetary damages to compensate Plaintiffs for the loss of the

right to a government by consent of the governed and the financial harm that would

ensue with no clear way to recover monetary damages in the face of economic

volatility.

       3.     There is a substantial likelihood that Plaintiffs will prevail on the merits

of their claims.

       4.     The threatened harm to Plaintiff vastly outweighs the harm that a

temporary restraining order would inflict on Defendants, which have no

constitutionally-guaranteed right to personally hold office, especially in the face of

the allegations in the Complaint and evidence in the record.

       5.     Issuance of a temporary restraining order would not adversely affect the

public interest and public policy because it will serve to protect the public during the

constitutional crisis until the Court can hold an evidentiary hearing.

       6.     This ex parte order is granted without notice to the Defendants because

notice of a hearing risks that Defendants may destroy evidence and because it would

be impracticable to serve the numerous amount of Defendants, and because, given

the nature of egregious acts of Defendants alleged in the Complaint as supported by

the evidence in the record to this date, including the documents attached to the

Complaint, there is no less drastic remedy to protect the Plaintiffs’ sacred

constitutional and natural rights, i.e. the right to a government by consent of the




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governed by “We the People” through their substantive due process right to cast a

legal vote in federal elections.

FOR THESE REASONS AND for the purpose of maintaining the status quo ante, on

August 1, 2021,3 of a republican form of government through the checks and balances

prescribe in the Constitution of the United States, the Court hereby enters the

following TEMPORARY RESTRAINING ORDER, pending a Preliminary Injunction

hearing:

Matters of Conduct of Legislative Function:

    (1)      As there is substantial likelihood that Plaintiffs will prevail on the merits,
             all members of the 117th US Congress, who were elected in the 2020
             elections through violation of HAVA (collectively, the “Disputed Congress”)
             shall be temporarily barred from holding public office;

    (2)      All Senators who were not subject to the 2020 Election shall remain in
             office, except for current Senators who participated in the legislative
             process and/or the vote that led to the enactment of the Help America Vote
             Act of 2002, including any amendments thereto, shall also be temporarily
             barred from holding public office (the “Complicit Senators”) because they
             likely knew or reasonably should have known of the harm being perpetrated
             on the American electorate, yet failed to take any action to stop it;

    (3)      All remaining Senators shall constitute the entire Legislative branch (the
             “Congress Pro Tempore”) but shall not have the power to enact new
             legislation or exercise any authority other than what is necessary for the
             minimum administrative or ministerial functions essential to the
             continuity of government;

    (4)      All actions taken by Congress with the participation of any members of the
             Disputed Congress and/or the Complicit Senators since January 3, 2021,
             including but not limited to: (1) All actions taken under Title 3 of the United
             States Code in counting the Electoral College votes and confirming Joseph
             Biden as President-Elect, leading to his inauguration; (2) All actions taken
             to impeach and/or convict the 45th President, Donald J. Trump during or

3
 August 1, 2021 is a date before the 2020 election campaigns for Congress and the President began. Oftentimes,
there are seismic shifts in government bureaucracies and policy just prior to an election as government officials
tend to shift policy and personnel positions in anticipation of who may come to power in the wake of an election.


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        after his term in office; and any other actions and/or legislation passed prior
        to the entry of this Order are hereby temporarily enjoined from
        enforcement, such that the same shall have no longer have lawfully
        enforceable effect pending a preliminary injunction hearing;

  (5)   The Disputed Congress, Complicit Senators, and their respective staffs are
        temporarily enjoined from access to the U.S. Capitol building and any
        ancillary offices on Capitol Hill, and the use of titles, benefits, or authorities
        therefrom;

  (6)   The respective Sergeants at Arms of the Senate and of House of
        Representatives are hereby ORDERED to take all reasonable and necessary
        steps to immediately escort, and without prior notice, any members of the
        Disputed Congress or Complicit Senators and their staff (collectively the
        “Restrained Congress”) out of the Capitol building and their respective
        ancillary Washington, D.C. offices, and is further ordered to immediately
        lock all doors to the all such offices and rooms in the Capitol building and
        ancillary office buildings including congressional offices of Congress with
        any materials located therein (the “Sequestered Materials”) not to be
        disturbed by any person without order of this Court so as to be preserved for
        discovery and inspection in connection with the allegations set forth in
        Plaintiffs’ Complaint; no materials shall be shall be removed by the
        Restrained Congress from the Capitol under any circumstance other than
        bona fide personal items on their person that do not include electronic
        devices, which shall be confiscated for forensic inspection as the Court may
        direct.

  (7)   Any dispute or conflict that arises from this section pertaining to the
        legislative branch shall be resolved by this Court, who shall be the final
        arbiter thereof;

THE STEWARDS AND THE EXECUTIVE BRANCH

  (8)   As there is a substantial likelihood that Plaintiffs will prevail on the merits
        that Congress’s act in confirming Joseph Biden as the President-Elect and
        Kamala Harris as Vice President-elect were unlawful acts by an illegitimate
        Congress. Accordingly, Mr. Biden, Ms. Harris, and the Executive Branch
        are hereby temporarily enjoined from exercising any authority to make a
        policy departure from the previous administration under President Donald
        J. Trump pending the preliminary injunction hearing;

  (9)   The Court hereby appoints a committee of special masters (the “Stewards”),
        one Steward for each Executive Branch Cabinet Position to be composed of
        the former members of the previous administration’s Cabinet existing as of
        August 1, 2020;


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  (10) The Stewards shall have the ability to utilize the West Wing of the White
       House to assure the continuity of government and shall will have the
       exclusive authority as to staffing issues including the retention of,
       replacement of, and maintenance of which are considered normal
       administrative or procedural processes. And issue of Conflict regarding
       within the Stewards and Executive Branch section shall be resolved by this
       Court, acting as the final arbiter;

  (11) All persons who acted in a legislative manner in the 107th Congress and had
       expressed knowledge of the Help America Vote Act of 2002, and as amended
       in 2005 and 2008, including but not limited to Mike Pence, all named
       Defendants in this lawsuit, and any member of staff thereof shall be barred
       from holding any position in government or administration of government
       pending the preliminary injunction hearing;

  (12) The Stewards shall have the temporary power to veto any decision regarding
       policy, foreign or domestic, or any action already taken or to be taken by Joe
       Biden, Kamala Harris, the current Executive Branch, (collectively the
       “Disputed Administration”);

  (13) All executive actions taken by the Disputed Administration prior to this
       Temporary Restraining Order prior to be serviced with a copy of this order
       shall hereby be temporarily reversed and given no effect, unless revived by
       the process set forth below, and the Disputed Administration shall take all
       necessary and proper action to immediately reverse such actions without
       restraint;

  (14) Together, the Stewards and the Congress Pro Tempre shall act jointly in
       administering government and shall be known, collectively, as the “In-
       Possession Trustees” and shall administer governmental activities as
       prescribed within the Constitution;

  (15) Each of the two branches of government as named in the proceeding
       paragraph shall appoint a “Speaker’ for each branch, affirmed by the other,
       who shall act jointly to address the nation, discuss operational policies and
       in the case of acts of extremis jointly hold the “emergency powers of
       President.”

  (16) To the extent there arise any conflict between any of the authorities named
       herein, this Court shall resolve the same, and be the final arbiter thereof.

USE OF THE WHITE HOUSE AND OTHER ASSETS




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   (17) Joseph Biden and Jill Biden are hereby temporarily enjoined from using the
        residence of the White House and the Secret Service shall immediately
        relocate Mr. and Mrs. Biden to Blair House, the guest house of the sitting
        U.S. President, while this Order is in force as residence in the White House
        is a privilege paid for by the taxpayers;

   (18) The Secret Service is hereby ORDERED to escort Joe Biden and Jill Biden
        out of the White House and to their personal residence where the Secret
        Service shall provide all appropriate security and all appropriate measures
        to ensure secure communications for the continued function of the Executive
        Branch, subject to the Overseers as set forth herein; their staff may use the
        White House offices to conduct official Executive Branch business and shall
        establish a secure method of communicating with Joseph Biden;

   (19) Mr. Biden and Ms. Harris shall not be permitted to use Air Force One, Air
        Force Two, Marine One, or any other similar vehicle at the expense of the
        taxpayers without the express approval of the Trustees by majority vote, on
        a case by case basis, and not for any political or election type purpose;

   (20) If any matter arises that poses an imminent national security threat or
        similar emergency, such matter than be immediately communicated to the
        Stewards through a secure line; the Stewards shall designate a “Emergency
        Steward” among one of themselves by taking nominations, which must be
        seconded and choosing among the nominees by a majority vote; to the extent
        there is not a majority in the initial vote, the top two Stewards receiving the
        largest pluralities shall have a runoff; the Emergency Steward shall have
        the power that would normally be vested in the President of the United
        States during any such issue of an imminent national security threat or any
        situation of similar severity or threat relating to the well-being of the nation
        an (“Emergency Event”); the Emergency Steward shall be escorted by Secret
        Service to the Situation Room in the White House or brought in by
        teleconference as may be appropriate; in no event shall Joseph Biden or
        Kamala Harris have the authority to take any action in an Emergency Event
        but are required to immediately notify the Emergency Steward if any event
        arises meeting the definition of an Emergency Event.

   (21) The “Nuclear Football” shall be under the exclusive control and authority of
        the Stewards at all times and shall only be used by direct order of the
        Emergency Steward, who shall act in a manner of succession if both
        Speakers are incapacitated;

The lawful purpose of the following temporary orders is to protect the civil rights of
the Plaintiffs to adequate representation by the Counsel of their choosing and to




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protect the rights of potential Plaintiffs who have a right of action arising under any
of the facts and law presented in the Complaint.

   (22) The Department of Justice, the Federal Bureau of Investigation, and any
        other bureaucratic federal agency with the power or ability to arrest and/or
        detain U.S. Citizens (the “Police State Agencies”) are hereby temporarily
        enjoined from arresting and/or holding in custody Plaintiffs’ undersigned
        lead counsel, Paul M. Davis and co-counsel, Kellye SoRelle, and any other
        person who voted in the federal elections of 2020 and/or the 2021 Georgia
        Senate Runoff, which resulted in the Disputed Congress in relation to the
        exercise of their First Amendment civil right to peaceably assemble in
        protest provided that such persons (the “Peaceful Protestors”) provide a
        Declaration under penalty of perjury that they (1) voted in the 2020 federal
        election, (2) did not commit an overt and intentional act of violence against
        a police officer or other security force that resulted in significant injury to
        the same; (3) did not use force to enter the Capitol building; and (4) did not
        vandalize any property in the Capitol building during their attendance at
        the January 6, 2021 protest in Washington, D.C. (the “March for Trump”);

   (23) If any of the Peaceful Protestors make such a Declaration in the form on
        Exhibit 1 attached hereto, they may keep a copy in a secure location of their
        choosing, and if they are arrested and/or held in custody by a Police State
        Agency, any friend of such person may produce the same to Counsel for the
        Plaintiffs who will submit the same to the Court; and upon such submission
        the offending Police State Agency shall appear before the Court to show good
        cause for holding such person by producing clear and convincing evidence
        that the Declaration is false or shall release the Peaceful Protestor from
        custody and shall refrain from harassing the same in any manner;

   (24) Furthermore, any Person, whether private citizen or public official found to
        be threatening or taking an overt act against the safety and/or the life,
        liberty or property, including calling for the termination of, vandalizing the
        property of, threatening the family or friends of, such Peaceful Protestor on
        the basis of their presence at the March for Trump shall be held in contempt
        of Court, upon a showing of a preponderance of evidence that such conduct
        occurred for interfering in such person’s constitutional right to participate
        in this lawsuit to have their grievances addressed by the federal courts; the
        Court to determine an appropriate remedy on a case-by-case basis;

   (25) The Secret Service shall work jointly with the US Marshalls Service to
        ensure the safety and security of this Court and all members thereof until
        such time the matter before the bar has been resolved.




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      The clerk is ORDERED to take all steps necessary to issue notice of this

TEMPORARY RESTRAINING ORDER to all agencies, executives, legislative bodies

of Government, including federal and state, or any other governmental authority

necessary to execute the provisions of this Order, including, specifically, Joseph

Biden, Kamala Harris, Defendants named in the Complaint acting in a capacity of

government or other persons the Court deems appropriate, including those persons

who would qualify to be Stewards, members of Congress Pro Tempore, and to the

members and staff of the Disputed Administration, who are, at least, third party

beneficiaries of the acts and omissions alleged in this Complaint, and that the hearing

on Plaintiff’s request for preliminary injunction is set for no less than 14 days from

the entry of this order and shall be set, accordingly, on________________, 2021, at ___

a.m./p.m. However, given the voluminous amount of expedited discovery necessary

to occur prior to the hearing on the request for preliminary injunction, Plaintiffs are

encouraged to apply for extension of this TEMPORARY RESTRAINING ORDER for

an additional 14 days pursuant to Fed. R. of Civ. P. 65(b)(2) and thereafter by

agreement between the parties.

Plaintiff to post bond in the amount of $____________________.

This order will expire on ___________                , 2021.



SIGNED on ___________            , 2021, at ___       a.m./p.m.




PRESIDING JUDGE



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                               FORM OF ORDER SUBMITTED BY:


                               /s/ Paul M. Davis
                               Paul M. Davis
                               Texas Bar Number 24078401
                               Admitted to Western District of Texas
                               Former Associate General Counsel of
                               Goosehead Insurance, Inc.
                               (Terminated after peacefully protesting)
                               Now Solo Civil Rights Attorney

                               Kellye SoRelle
                               Law Office of Kellye SoRelle
                               Texas Bar Number 24053486
                               Admitted Pro Hace Vice

                               ATTORNEYS FOR PLAINTIFFS




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